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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------X
ILYA FELIKSOVICH IOSILEVICH,                         :
                                                         NOTICE TO PRO SE
                          Plaintiff,                :    LITIGANT WHO OPPOSES
                                                         A RULE 12 MOTION
        -against-                                   :    SUPPORTED BY
                                                         MATTERS OUTSIDE OF
                                                    :    THE PLEADINGS

WALMART, INC., et al.,                              :    22-CV-4757 (VB)

                           Defendants.               :
-----------------------------------------------------X

        PLEASE TAKE NOTICE that, pursuant to Rule 12.1 of the Local Civil Rules of

the United States District Court for the Southern District of New York, defendants Kevin

Bruen and John T. Reicherter (“State Defendants”), by their attorney, LETITIA JAMES,

Attorney General of the State of New York, hereby advise plaintiff as follows:

        The State Defendants have moved to dismiss or for judgment on the pleadings

pursuant to Rule 12(b) or 12(c) of the Federal Rules of Civil Procedure and have

submitted additional written materials. This means that the State Defendants have asked

the Court to decide this case without a trial, based on these written materials. You are

warned that the Court may treat this motion as a motion for summary judgment under

Rule 56 of the Federal Rules of Civil Procedure. For this reason, THE CLAIMS YOU

ASSERT IN YOUR COMPLAINT MAY BE DISMISSED WITHOUT A TRIAL IF

YOU DO NOT RESPOND TO THIS MOTION by filing your sworn affidavits or other

papers as required by Rule 56(e). An affidavit is a sworn statement of fact based on

personal knowledge that would be admissible in evidence at trial. The full text of Rule

56 of the Federal Rules of Civil Procedure is attached as Exhibit A.
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       In short, Rule 56 provides that you may NOT oppose summary judgment simply

by relying upon the allegations in your complaint. Rather, you must submit evidence,

such as witness statements or documents, countering the facts asserted by the State

Defendants and raising material issues of fact for trial. Any witness statements must be

in the form of affidavits. You may submit your own affidavit and/or affidavits of others.

You may submit affidavits that were prepared specifically in response to the State

Defendants’ motion.

       If you do not respond to the motion on time with affidavits or documentary

evidence contradicting the material facts asserted by the State Defendants, the Court may

accept the factual assertions of the State Defendants as true. Judgment may then be

entered in the favor of the State Defendants without a trial.

       If you have any questions, you may direct them to the Pro Se Office.

Dated: New York, New York
       March 27, 2023
                                                      LETITIA JAMES
                                                      State of New York
                                                      Attorneys for State Defendants
                                                      By:

                                                      __/s/ Andrew Blancato__________
                                                      Andrew Blancato
                                                      Assistant Attorney General
                                                      28 Liberty Street
                                                      New York, New York 10005
                                                      (212) 416- 8659
                                                      Andrew.Blancato@ag.ny.gov

TO:    VIA ECF, E-Mail and US MAIL
       Ilya Feliksovich Iosilevich
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       PRO SE
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Rule 56. Summary Judgment
Primary tabs
(a) MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT. A party may
move for summary judgment, identifying each claim or defense — or the
part of each claim or defense — on which summary judgment is sought. The
court shall grant summary judgment if the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law. The court should state on the record the
reasons for granting or denying the motion.
(b) TIME TO FILE A MOTION. Unless a different time is set by local rule or the
court orders otherwise, a party may file a motion for summary judgment at
any time until 30 days after the close of all discovery.
(c) PROCEDURES.
    (1) Supporting Factual Positions. A party asserting that a fact cannot be
  or is genuinely disputed must support the assertion by:
      (A) citing to particular parts of materials in the record, including
    depositions, documents, electronically stored information, affidavits or
    declarations, stipulations (including those made for purposes of the
    motion only), admissions, interrogatory answers, or other materials; or
      (B) showing that the materials cited do not establish the absence or
    presence of a genuine dispute, or that an adverse party cannot produce
    admissible evidence to support the fact.
    (2) Objection That a Fact Is Not Supported by Admissible Evidence. A
  party may object that the material cited to support or dispute a fact
  cannot be presented in a form that would be admissible in evidence.
    (3) Materials Not Cited. The court need consider only the cited materials,
  but it may consider other materials in the record.
    (4) Affidavits or Declarations. An affidavit or declaration used to support
  or oppose a motion must be made on personal knowledge, set out facts
  that would be admissible in evidence, and show that the affiant or
  declarant is competent to testify on the matters stated.
(d) WHEN FACTS ARE UNAVAILABLE TO THE NONMOVANT. If a nonmovant shows by
affidavit or declaration that, for specified reasons, it cannot present facts
essential to justify its opposition, the court may:
    (1) defer considering the motion or deny it;


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    (2) allow time to obtain affidavits or declarations or to take discovery; or
    (3) issue any other appropriate order.
(e) FAILING TO PROPERLY SUPPORT OR ADDRESS A FACT. If a party fails to properly
support an assertion of fact or fails to properly address another party’s
assertion of fact as required by Rule 56(c), the court may:
    (1) give an opportunity to properly support or address the fact;
    (2) consider the fact undisputed for purposes of the motion;
    (3) grant summary judgment if the motion and supporting materials —
  including the facts considered undisputed — show that the movant is
  entitled to it; or
    (4) issue any other appropriate order.
(f) JUDGMENT INDEPENDENT OF THE MOTION. After giving notice and a reasonable
time to respond, the court may:
    (1) grant summary judgment for a nonmovant;
    (2) grant the motion on grounds not raised by a party;or
    (3) consider summary judgment on its own after identifying for the
  parties material facts that may not be genuinely in dispute.
(g) FAILING TO GRANT ALL THE REQUESTED RELIEF. If the court does not grant all
the relief requested by the motion, it may enter an order stating any
material fact — including an item of damages or other relief — that is not
genuinely in dispute and treating the fact as established in the case.
(h) AFFIDAVIT OR DECLARATION SUBMITTED IN BAD FAITH. If satisfied that an
affidavit or declaration under this rule is submitted in bad faith or solely for
delay, the court — after notice and a reasonable time to respond — may
order the submitting party to pay the other party the reasonable expenses,
including attorney’s fees, it incurred as a result. An offending party or
attorney may also be held in contempt or subjected to other appropriate
sanctions.
(As amended Dec. 27, 1946, eff. Mar. 19, 1948; Jan. 21, 1963, eff. July 1,
1963; Mar. 2, 1987, eff. Aug. 1, 1987; Apr. 30, 2007, eff. Dec. 1, 2007;
Mar. 26, 2009, eff. Dec. 1, 2009; Apr. 28, 2010, eff. Dec. 1, 2010.)




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